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                            Nos. 14-1617 & 14-1619


                  UNITED STATES COURT OF APPEALS
                     FOR THE FEDERAL CIRCUIT
                        _____________________

                       LEXMARK INTERNATIONAL, INC.,

                                                        Plaintiff–Cross-Appellant
                                        v.

                          IMPRESSION PRODUCTS, INC.,

                                                             Defendant–Appellant

                 (For Continuation of Caption See Inside Cover)


  Appeal from the United States District Court for the Southern District of Ohio
               in Case No. 10-CV-564, Judge Michael R. Barrett


      CORRECTED EN BANC BRIEF OF AMICUS CURIAE
REMANUFACTURING ASSOCIATIONS IN SUPPORT OF APPELLANT
                 ____________________

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                                     Auto Care Association, and Automotive
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 QUALITY CARTRIDGES, INC., JOHN DOES, 1-20, BLUE TRADING LLC, EXPRINT
INTERNATIONAL, INC., LD PRODUCTS, INC., PRINTRONIC CORPORATION, TESEN
DEVELOPMENT (HONG KONG) CO. LTD., BENIGNO AVEDA AND HIS COMPANIES,

                                                                 Defendants.
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                        CERTIFICATE OF INTEREST

      Amici curiae International Imaging Technology Council, Auto Care

Association, and Automotive Parts Remanufacturers Association are not-for-profit

associations that have no parent corporations, and no publicly held corporation

owns 10 percent or more of the stock in any of the amici.




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                            QUESTIONS PRESENTED
      1.      The case involves certain sales, made abroad, of articles patented in

the United States. In light of Kirtsaeng v. John Wiley & Sons, Inc., 133 S. Ct. 1351
(2013), should this court overrule Jazz Photo Corp. v. International Trade
Commission, 264 F.3d 1094 (Fed. Cir. 2001), to the extent it ruled that a sale of a

patented item outside the United States never gives rise to United States patent
exhaustion?
      2.      The case involves (i) sales of patented articles to end users under a
restriction that they use the articles once and then return them and (ii) sales of the
same patented articles to resellers under a restriction that resales take place under
the single-use-and-return restriction. Do any of those sales give rise to patent

exhaustion? In light of Quanta Computer, Inc. v. LG Electronics, Inc., 553 U.S.
617 (2008), should this court overrule Mallinckrodt, Inc. v. Medipart, Inc., 976
F.2d 700 (Fed. Cir. 1992), to the extent it ruled that a sale of a patented article,
when the sale is made under a restriction that is otherwise lawful and within the
scope of the patent grant, does not give rise to patent exhaustion?




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             STATEMENT OF INTEREST OF AMICUS CURIAE1
      Amici are not-for-profit associations that, inter alia, represent the interests of

companies that compete against original equipment manufacturers (“OEMs”) for
sale of replacement parts and consumable goods, and provision of services that
constitute lawful repair under the patent laws. 2

      Auto Care Association (“ACA”) is a national trade organization of 2,000
members representing more than 150,000 independent businesses that
manufacture, distribute, and sell motor vehicle parts, accessories, tools, equipment,
materials, and supplies, and perform vehicle service and repair. This independent
aftermarket industry contributes more than 2.3 percent to the U.S. gross domestic
product. Following expiration of a new car warranty, over 75 percent of car owners
patronize independent repair shops rather than new car dealers.
      Automotive Parts Remanufacturers Association (“APRA”) is the trade
association for companies that collect and restore to functionality used motor

vehicle parts. APRA represents over 1000 remanufacturers and their suppliers.
Parts remanufactured by APRA members are used in automobiles, trucks, buses,
and off-highway vehicles such as construction and industrial equipment and farm

machinery.


1
    No counsel for a party authored this brief in whole or in part, or made a
monetary contribution intended to fund preparation or submission of this brief. No
person other than amici, their members, or counsel made a monetary contribution
to its preparation or submission.
2
    Various industries call these repair activities “rebuilding,” “recharging,”
“reconditioning,” “customization,” or “remanufacturing.”
                                            2
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      International Imaging Technology Council (“I-ITC”) represents the interests
of the imaging supplies industry, including companies that buy used cartridges,

recharge used toner and inkjet cartridges, retail remanufactured cartridges, and all
related industry suppliers.
      Products such as automobiles, computers, and computer printers contain
removable and consumable parts that can be repaired or refurbished many times.
Consumers buy parts and repair services to extend the useful life of these products
and enhance the value of their investments. Members of the amici satisfy this

consumer demand by providing alternative sources for consumable goods, parts,
and services at lower cost and of equal or better quality than the OEM. Their
products often include improvements compatible with, but not available on, the
original equipment. This aftermarket competition based on price, quality, and
features constrains OEMs from increasing prices to supracompetitive levels, and
spurs innovation in OEM and aftermarket products.
      Lawful repair contributes substantially to the American economy: 3
          • The motor vehicle aftermarket industry employs more than 4,000,000
             people in the United States. Overall domestic aftermarket sales of

             automotive products totaled $318.2 billion in 2013. Amici estimate
             more than 10,000 companies in the United States rebuild motor
             vehicle parts.



3
   See Eastman Kodak Co. v. Image Technical Servs. Inc., 504 U.S. 451, 462 &
n.6 (1992).
                                     3
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          • In 2013 consumers spent more than $16 billion for repair and
             maintenance of electronic and precision equipment, of which

             approximately $7 billion was spent for computer and office machine
             repair and maintenance. 4 An estimated 2,000 domestic businesses
             recondition and repair office imaging supplies—including laser

             printer toner cartridges—employing approximately 70,000 workers.
             Industry observers estimate aftermarket refurbished printer supplies in
             North America comprise 25-30 percent of the market for monochrome
             laser printer toner cartridges, up to 10 percent of the market for color
             laser printer toner cartridges, and approximately 14 percent of the
             aftermarket for refilled ink jet cartridges, with total annual aftermarket

             sales of some $3.4 billion.
      Remanufacturing also promotes sound environmental policies and conserves
resources such as precious metals and petroleum-based plastics. Rebuilding
automotive parts typically re-uses 88 percent of the raw material from the original
parts, and rebuilding engines saves 50 percent of the energy required to produce a
new engine. Reconditioning ink and toner cartridges will keep some 84,000 tons of
industrial-grade plastics and metals out of landfills this year.
      Companies represented by amici run the gamut from large, technologically-
sophisticated entities with substantial intellectual property portfolios to small
4
   U.S. Census Bureau, 2013 Annual Services Report, Table 2: Estimated
Revenue by Tax Status for Employer Firms: 2007 through 2013,
http://www.census.gov/services/index.html (last visited June. 3, 2015).

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operators that service local customers. What these amici share is a stake in access
to genuine patented articles acquired anywhere in the world, free of restraints on

alienation or repair. Without access to OEM products to repair or refurbish, these
companies cannot provide competition to OEMs or choices to consumers.
      Despite Quanta’s broad reaffirmation of patent exhaustion, and Kirtsaeng’s
rejection of geographic limits upon exhaustion, Lexmark continues to threaten the
cartridge remanufacturing industry with infringement suits attempting to re-assert
exhausted patent rights over cartridges that can lawfully be repaired. Such threats,

if expanded to other products and industries, would have disastrous consequences
for the domestic economy—a world in which consumers and aftermarket
competitors face infringement liability for repairs performed by anyone but a
patentee.
      Amici respectfully submit this brief so the Court may consider the
importance of patent exhaustion to this sector of the American economy, and the
destructive impact of narrowing the exhaustion rule upon commerce generally and
these aftermarket industries in particular. Patent law and competition best will be
served by a bright-line rule, consistent with Supreme Court precedents, that
exhausts any right of the patent owner to prevent imports or to apply post-sale use
restrictions, following authorized sale of a patented article.




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                          SUMMARY OF ARGUMENT
      Patent exhaustion finds its roots in the common-law refusal to enforce post-

sale encumbrances on private property rights. Kirtsaeng relied on these common-
law principles to reject geographic segmentation of exhaustion. The Supreme
Court found exhaustion where the foreign publisher/printer had no right to sell in

the United States, and the foreign-made books gave express notice that importation
would violate U.S. copyrights. In Quanta, the Supreme Court reaffirmed long-
standing precedents holding the authorized sale of a patented article exhausts a
patentee’s right to control post-sale uses of that article. These decisions properly
balance exclusive intellectual property rights with the public interests in the free
flow of goods and robust competition. They secure consumers’ right to re-use,

resell, repair, and improve property lawfully acquired through an authorized sale
anywhere in the world.
      The two lines of cases revisited here en banc impermissibly revive exhausted
patent rights based on authorized sales abroad or contractual impositions on post-
sale uses, and so cannot be squared with these Supreme Court precedents.
      In response to Question 1, Jazz Photo should be overruled. The domestic
exhaustion holding of Jazz Photo lacked support from the sole Supreme Court case
it cited, and was dealt the fatal blow in Kirtsaeng’s acknowledgement that the
common-law roots of patent exhaustion have no geographic limits.
      In response to Question 2, Quanta held that post-sale use restrictions, or
requirements on resellers to pass on such restrictions, are exhausted by the


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authorized sale. Similarly, Quanta annulled Mallinckrodt’s “conditional sales”
theory. By reversing the reasoning and holding of Bizcom, 5 Quanta necessarily

reversed the reasoning it drew from Mallinckrodt. The district courts in this case
and in Static Control6 correctly held that Quanta overruled Mallinckrodt sub
silentio, and found Lexmark’s reseller agreements and “prebate” label terms

indistinguishable from the “conditional sale” license that Quanta held
unenforceable under patent law.
      The “conditional sales” theory impermissibly encroaches upon precedents
defining lawful repair. Remanufacturing industries provide valuable service to
consumers and contribute billions of dollars to our economy. Post-sale restrictions
such as Lexmark’s seek to prevent commonplace activities such as repair,

upgrading personal computers, and customizing automobiles. Consumers and
aftermarket competitors targeted by post-sale restrictions may not know whether
the restriction exists or is valid or enforceable. But if Lexmark succeeds here,
consumers and aftermarket competitors would be exposed to patent infringement
liability solely for fixing broken products they own. Such threats chill competition
and pose intolerable risks for entrepreneurial ventures.
      Patent exhaustion of post-sale use conditions also restores proper symmetry
between patent and antitrust law. Post-sale use restrictions target the patentee’s
aftermarket competitors, not end-users who ostensibly agree to the take-it-or-leave-
5
   LG Elecs., Inc. v. Bizcom Elecs., Inc., 453 F.3d 1364, 1369 (Fed. Cir. 2006)
(“Bizcom”).
6
   Static Control Components v. Lexmark Int’l, Inc., 615 F. Supp. 2d 575 (E.D.
Ky. 2009).
                                          7
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it terms. By design, they constrain lawful aftermarket competition and undermine
antitrust enforcement—thereby restricting consumer choice, increasing prices, and

stifling innovation.
      Finally, a clear rule finding exhaustion upon an authorized sale best serves
modern commerce. Products such as cars and computers may be sold and resold
repeatedly during their useful life. The millions of businesses and consumers that
use e-commerce sites are entitled to know they have the right to resell, purchase,
and use what they buy, free from the threat of infringement suits.

                                  ARGUMENT

I.    AN AUTHORIZED SALE, WHEREVER MADE, EXHAUSTS ALL
      PATENT RIGHTS IN THE VENDED ARTICLE.

      A.     Patent Exhaustion is a Matter of Common Law, Which Has No
             Geographic Restrictions.
      The exhaustion doctrine traces its roots back nearly 400 years, to the time of
Lord Coke and “the common law’s refusal to permit restraints on alienation of
chattels.” 7 Kirtsaeng applied this common-law exhaustion principle to copies of

copyrighted works, and affirmed that a straightforward application of the doctrine
encompasses sales of copies lawfully made abroad. Id., 133 S. Ct. at 1363-1364.
The exhaustion doctrine promotes competition and consumer rights, “leaving
buyers of goods free to compete with each other when reselling or otherwise
disposing of those goods.” Id., 133 S. Ct. at 1363. Exhaustion frees commercial

7
   Kirtsaeng, 133 S. Ct. at 1363 (common-law exhaustion has “an impeccable
historic pedigree”); LifeScan Scotland, Ltd. v. Shasta Techs., LLC, 734 F.3d 1361,
1376 (Fed. Cir. 2013).
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enterprises and the courts from the impossible burdens of determining residual
rights or restrictions in goods whose provenance cannot readily be traced. Id, 133

S. Ct. at 1363, 1365.
      Kirtsaeng’s reasoning applies with even greater force to patent exhaustion,
for three reasons. First, whereas the Copyright Act codified the first sale exemption

from infringement liability, 8 patent law has no statutory exhaustion provision and
exists solely as a creation of common law. 9 Thus, the scope of exhaustion under
patent law must be coextensive with common-law exhaustion which, as Kirtsaeng
confirms, “makes no geographic distinctions.” Id., 133 S. Ct. at 1363. Second,
whatever other differences exist between patent and copyright, for more than 100
years the Supreme Court has recognized no pertinent distinctions between the
copyright and patent rights subject to exhaustion:

      Congress had no intention to use the term ‘vend’ in one sense in the
      patent act and ‘vending’ in another in the copyright law. Protection in
      the exclusive right to sell is aimed at in both instances, and the terms
      used in the statutes are to all intents the same.

Bauer & Cie. v. O’Donnell, 229 U.S. 1, 13 (1913). Consequently, the scope of

exhaustion following authorized sale of a patented article or exemption from the
respective rights of a patent and copyright owner to control distribution is “to all
intents the same.” Third, the citation to Bobbs-Merrill v. Straus, 210 U.S. 339

(1908) further confirms the applicability and equivalence of exhaustion in the


8
   17 U.S.C. § 109(a).
9
   Helferich Patent Licensing, Inc. v. The New York Times Co., 778 F.3d 1293,
1305 (Fed. Cir. 2015).
                                         9
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patent and copyright contexts. Kirtsaeng , 133 S. Ct. at 1363-1364. The Supreme
Court consistently has cited the copyright exhaustion principles animating Bobbs-

Merrill when invalidating post-sale price restraints under patent law. See, e.g.,
United States v. General Elec. Co., 272 U.S. 476, 493-494 (1926) (characterizing
invalidation of resale price restrictions in patent cases and Bobbs-Merrill as
applications of exhaustion principles of Adams v. Burke, 84 U.S. (17 Wall.) 453
(1873)); Boston Store of Chicago v. Am. Graphophone Co., 246 U.S. 8, 21-23
(1918) (discussing Bobbs-Merrill and the equivalence of copyright and patent

exhaustion in Bauer v. O’Donnell).

      B.     Jazz Photo Has No Basis in Supreme Court Precedent.
      This Court’s decision in Jazz Photo has no mooring in Supreme Court
precedent, and its reliance on Boesch v. Graff, 133 U.S. 697 (1890), is inapposite.
In Boesch, the manufacturer possessed a prior use right under German law to make
and sell the patented articles. The manufacturer’s sales in Germany were lawful,
but lacked authorization of the patent owner. Thus, at most Boesch holds,
consistent with Supreme Court precedents prior and since, that an unauthorized
sale does not exhaust the patent owner’s rights. It does not support the proposition
of Jazz Photo and its progeny that authorized foreign sales cannot exhaust
domestic patent rights, or Jazz Photo’s broad conclusion that “the authorized first
sale must have occurred under the United States patent.” Id., 264 F.3d at 1105. 10
10
  Similarly, the parenthetical following the citation to Boesch in Jazz Photo
merely assumes, without support, that Boesch would have required the importer to
be licensed by the U.S. patent owner even if the sale in Germany had been
authorized.
                                         10
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         C.     Neither the Uruguay Round Amendments Act Nor the TRIPS
                Agreement Nor Concerns for Extraterritoriality Preclude
                Exhaustion Upon Foreign Authorized Sales.
         At least one commentator attempts to distinguish Kirtsaeng by asserting a
separate statutory basis to preclude exhaustion. According to this argument, even if
the right to exclude others from selling is exhausted, the right to exclude
importations, added to Section 271(a) as part of the Uruguay Round Amendments
Act of 1994, 108 Stat. 4988, persists.11 This argument suffers from three fatal

flaws.
         First, exhaustion does not apply solely to the right to exclude sales. An
authorized sale extinguishes all of a patentee’s rights to control use or disposition
of that particular article. “[T]he initial authorized sale of a patented item terminates
all patent rights to that item.” Quanta, 553 U.S. at 625. “When the patented
machine rightfully passes to the hands of the purchaser from the patentee, or from

any other person by him authorized to convey it, the machine is no longer within
the limits of the monopoly.” 12 And, as this Court recently observed, the purpose of
the exhaustion doctrine is “avoiding re-imposition of section 271 constraints on an
authorized acquirer… .” Helferich, 778 F.3d at 1305. Thus, exhaustion applies to




11
    John F. Duffy and Richard M. Hynes, Statutory Domain and the Commercial
Law of Intellectual Property, 102 Va. L. Rev. ___ (2015), available at
http://papers.ssrn.com/sol3/papers.cfm?abstract_id=2599074 (hereinafter “Duffy”).
12
    Chafee v. Boston Belting Co., 63 U.S. 217, 223 (1859). See United States v.
Univis Lens Co., 316 U.S. 241, 249 (1942) (authorized sale of an article “is a
relinquishment of the patent monopoly with respect to the article sold.”); Adams v.
Burke, 84 U.S. at 456-457 (same).
                                        11
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all patent rights in the vended article. There is no basis to distinguish exhaustion
of importation from the other section 271(a) rights of use, sale, or offers to sell.

      Second, Congress added importation (and offers to sell) to section 271(a) to
comply with the requirements of Article 28(1)(a) of the Agreement on Trade
Related Aspects of Intellectual Property Rights of 1994 (the “TRIPS” Agreement).
The contemporaneously-adopted footnote to the word “importing” in Article 28
clarifies that “this right, like all other rights conferred under this Agreement in
respect of the use, sale, importation or other distribution of goods, is subject to the

provisions of Article 6.” And Article 6 provides, for the purposes of dispute
settlement under TRIPS, “nothing in this Agreement shall be used to address the
issue of exhaustion of intellectual property rights.” 13 Thus, the United States and

160 other member countries of the World Trade Organization expressly agreed that
the importation right did not prescribe the scope of exhaustion, and that exhaustion
of the importation right complies with TRIPS. Accordingly, section 271(a) does
not prevent exhaustion of the importation right upon an authorized foreign sale.
      Third, had Congress intended this amendment to alter the historical contours
of the exhaustion doctrine or constrain exhaustion in any way—particularly given
the focus on exhaustion in TRIPS Articles 6 and 28—surely such an important
change would be reflected in the legislative history of the 1994 amendment. Yet,
Congressional reports are silent on the amendment, and the Administrative

Statement neither prescribes nor limits the scope of exhaustion for patented articles

13
   TRIPS Agreement, available at World Trade Organization,
https://www.wto.org/english/tratop_e/trips_e/t_agm0_e.htm (emphasis added).
                                        12
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imported into the United States after an authorized sale. 14 This Court may
“presume, from Congress’s refusal to disturb the existing decisional law of this

doctrine (which predated the 1952 Act by nearly a century), an implicit
authorization to continue applying the doctrine within its familiar boundaries.”
Helferich, 778 F.3d at 1305. Accordingly, there is no support for an argument that
the 1994 amendments were intended to, or did, change common-law exhaustion.
      Finally, exhaustion after an authorized foreign sale does not extraterritorially
apply domestic patent law. At issue here is whether the U.S. patent exhaustion
doctrine prevents a U.S. patent holder from further asserting its rights on U.S. soil
against a patented article sold abroad with its direct or indirect authority. Unlike
Boesch, this case presents no question of whether foreign law trumps U.S. patent
rights. Id., 133 U.S. at 703. Cf. Quality King Distributors, Inc. v. L'anza Research
Int'l, Inc., 523 U.S. 135, 145 n.14 (1998).15
      Thus, in response to Question 1, an authorized sale anywhere in the world
exhausts the rights of a U.S. patent owner. Jazz Photo should be overruled.

II.   QUANTA REJECTED PATENT-BASED POST-SALE USE
      RESTRAINTS, THEREBY OVERRULING THE “CONDITIONAL
      SALES” THEORY OF MALLINCKRODT.
      In Quanta, the Supreme Court held that an authorized sale exhausts all of
the patent-holder’s rights in the vended article, such that downstream restrictions

14
    Statement of Administrative Action, The Uruguay Round Agreements Act,
reprinted in 1994 U.S.C.C.A.N. 4040, 4284.
15
    Quality King dispatches as “irrelevant” any argument that Free Trade
Agreements influence the scope of exhaustion. Id., 523 U.S. at 153-154 & nn.30-
31.
                                         13
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on post-sale uses of such article cannot be enforced under patent law. Id., 553 U.S.
at 621, 625, 631, 636, 637 & n.7, 638. 16 Quanta overruled Bizcom which, in turn,

relied on the Mallinckrodt line of cases that held, despite an authorized sale, that
post-sale conditions on use (a “conditional sale”) could preserve a patentee’s rights
against exhaustion. Quanta’s teaching is clear: an authorized sale terminates the

patentee’s rights in that article, and renders downstream post-sale use conditions
unenforceable under patent law.
      The outcome of this appeal is equally clear. Lexmark authorized the
cartridge sales to its reseller and end-user customers in the United States and
abroad. Lexmark’s resellers had “full authority to sell the Return cartridges that
practiced Lexmark’s patents” and, like Intel in Quanta, were merely required to




16
   Quanta left open the possibility that a patent owner might retain contract law
remedies for breach of post-sale conditions, while making clear that patent law
remedies are unavailable. Quanta is only the most recent reflection of the Supreme
Court’s hostility to use of patent law, rather than contract law, to enforce post-sale
restrictions:

      “[O]ne who buys patented articles of manufacture from one
      authorized to sell them becomes possessed of an absolute property in
      such articles, unrestricted in time or place. Whether a patentee may
      protect himself and his assignees by special contracts brought home to
      the purchasers is not a question before us, and upon which we express
      no opinion. It is, however, obvious that such a question would arise as
      a question of contract, and not as one under the inherent meaning and
      effect of the patent laws.”

Keeler v. Standard Folding-Bed Co., 157 U.S. 659, 666 (1895).
                                          14
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pass a notice to the end-purchaser.17 Hence, notices attempting to restrict post-sale
recycling activities of the end user “do not prevent patent rights from being

exhausted given that the initial sales were authorized and unrestricted.”18 Lexmark
does not contest these findings as clearly erroneous. Under Quanta, therefore,
Lexmark cannot use patent law to prevent otherwise-lawful post-sale use. “[T]he
fully authorized sales of the Return Program cartridges to consumers for use in the
ordinary pursuits in life took the cartridges outside the scope of the patent
monopoly despite the notices contained on those cartridges, and Lexmark may not

now rely on patent law to hold Impression Products liable for infringement.”19

      A.     Under Quanta, Post-Sale Use Restrictions Cannot Revive Patent
             Rights Exhausted by Authorized Sale.
      Quanta turned on the fundamental distinction between licenses restricting
the right to sell and post-sale conditions on use. Patentholder LG Electronics
(“LGE”) had not restricted Intel’s authority to sell microchips, but attempted by
written notices to impose use restrictions on microchip purchasers. This Court
found LGE’s notice made the sales “conditional” under its prior rulings, 20 and
prevented exhaustion. Bizcom, 453 F.3d at 1369. The Supreme Court reversed.

17
    Lexmark Br. Addendum, Op. and Order (Oct. 20, 2014) (hereinafter “Opinion”)
A00014.
18
    Id. The district court in Static Control likewise found all Lexmark’s cartridge
sales were authorized. 615 F. Supp. 2d at 584-585, 588.
19
    Opinion at A0015. See also Static Control, 615 F. Supp. 2d at 584 (“Lexmark
attempts to reserve patent rights in its products through post-sale restrictions on use
imposed on its customers. This is what Quanta says Lexmark cannot do.”).
20
    B. Braun Med. Inc. v. Abbott Labs., 124 F.3d 1419 (Fed. Cir. 1997);
Mallinckrodt, Inc.
                                           15
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Intel’s sales were authorized under the license from LGE, and exhausted LGE’s
rights under patent law to impose post-sale conditions on use of the chips.21

      The “conditional sales” theory blurs the connate distinctions, embodied from
the Supreme Court’s earliest exhaustion cases to the present, between restrictions
on a licensee’s authority to sell and a purchaser’s rights after authorized sale.

“[W]hen the machine passes to the hands of the purchaser, it is no longer within
the limits of the monopoly. It passes outside of it, and is no longer under the
protection of the act of Congress.” Bloomer v. McQuewan, 55 U.S. at 549. In
Adams v. Burke, the Supreme Court re-emphasized that geographic restrictions
upon a licensee’s right to sell could not restrict the purchaser’s post-sale right to
use the article outside that area. Id., 84 U.S. at 455.

      The case principally relied upon by Lexmark, General Talking Pictures
Corp. v. Western Elec. Co., 304 U.S. 175 (1938), articulates legal principles fully
consistent with Bloomer, Quanta, and the holding of the district court here.
Contrary to Lexmark’s arguments, it reached its different result on distinguishable
facts. In General Talking Pictures, a license to manufacture withheld the right to
sell the patented articles to commercial users. Id. at 179-180. Any sale by the
licensee to commercial users was unauthorized, so could not trigger exhaustion.


21
    Quanta also struck down the Bizcom (and Mallinckrodt/B. Braun) rationale
allowing a patent owner to claim royalties at multiple points in the usage chain, as
inconsistent with its exhaustion determinations in Bloomer v. McQuewan, 55 U.S.
(14 How.) 539 (1852), Adams v. Burke, supra, Keeler, supra note 9, at 9, and
Univis Lens, supra. Cf. Keurig, Inc. v. Sturm Foods, Inc., 732 F.3d 1370, 1375
(Fed. Cir. 2013).
                                          16
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Further evidence that General Talking Pictures turned on this distinction can be
found in its citation to another case where a licensee lacked the authority to sell. In

Mitchell v. Hawley, 83 U.S. (16 Wall.) 544 (1873), a license explicitly provided
that licensee “shall not, in any way, or form, dispose of, sell, or grant any license to
use the said machines” beyond the initial patent term. Id. at 549. The licensee
“never had any power to sell a machine so as to withdraw it indefinitely from the
operation of the franchise secured by the patent.” Id. at 551. Accordingly,
“[Respondent in Mitchell] could not convey to petitioner what both knew it was

not authorized to sell.” 304 U.S. at 181 (citation omitted). Accordingly, General
Talking Pictures and Mitchell merely illustrate the reverse corollary to Quanta:
No exhaustion results from an unauthorized sale. 22 It provides no authority for

Mallinckrodt’s “conditional sales” theory.

      B.     Mallinckrodt’s Conditional Sales Theory was Overruled by
             Quanta.
      Both courts that have directly considered the question,23 and the majority of
commentators,24 concur that Quanta overruled the “conditional sales” theory of

22
    That Court declined to address post-sale use conditions, inasmuch as the sales
were unauthorized. Id., 304 U.S. at 177.
23
    Opinion, A0015; Static Control, 615 F. Supp. 2d at 585-586 (“Quanta
overruled Mallinckrodt sub silentio. The Supreme Court’s broad statement of the
law of patent exhaustion simply cannot be squared with the position that
the Quanta holding is limited to its specific facts. Further, the Federal Circuit
relied in part on Mallinckrodt in reaching its decision in … the decision the
Supreme Court reversed in Quanta”); see also Ergowerx Int’l LLC v. Maxell Corp.
of Am., 18 F. Supp. 3d 430, 448 (S.D.N.Y. 2014).
24
    See, e.g., Duffy, at 48-49; Alfred C. Server and William J. Casey, Contract-
Based Post-Sale Restrictions on Patented Products Following Quanta, 64 Hastings
                                           17
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Mallinckrodt. By squarely reversing Bizcom’s application of the “conditional
sales” theory, Quanta necessarily rejected the same holding in the cases upon

which Bizcom relied—Mallinckrodt and B. Braun. 25 That rejection becomes
evident when applying Quanta’s exhaustion rule to the facts of Mallinckrodt: an
authorized sale to the hospitals would exhaust the patentee’s right and render the
“single use only” restriction unenforceable under patent law.
      It is irrelevant, as Lexmark has argued, that Quanta did not reverse
Mallinckrodt by name. Quanta reversed a second aspect of Bizcom by holding

exhaustion applicable also to method patents;26 and there can be no dispute that
Quanta thereby overruled sub silentio this Court’s prior cases holding the
contrary. 27 The same is true here: Quanta overruled Mallinckrodt’s “conditional

sales” theory.



L.J. 561, 596 (Apr. 2013); Thomas G. Hungar, Observations Regarding the
Supreme Court’s Decision in Quanta Computer, Inc. v. L.G. Electronics, Inc.
(“Mallinckrodt’s ‘conditional sale’ rationale is no longer good law.”), 49 IDEA –
Intell. Prop. L. Rev. 517, 533 (2009). See also, Brief for the United States as
Amicus Curiae Supporting Petitioners, Quanta Computer Inc. v. L.G. Elecs. No.
06-937, at 20-24 (U.S., Nov. 2007),
http://www.justice.gov/osg/briefs/2007/3mer/1ami/2006-0937.mer.ami.pdf.
25
    This Court’s subsequent citation of B. Braun and Mallinckrodt in Princo Corp.
v. Int’l Trade Comm’n, 616 F.3d 1318 (Fed. Cir. 2010) (en banc), does not
determine the outcome here. Princo concerns patent misuse in a patent pool
license, not patent exhaustion upon authorized sales. References to exhaustion in
the en banc opinion are dictum; the panel opinion did not discuss exhaustion at all.
Princo Corp. v. Int’l Trade Comm’n, 563 F.3d 1301 (Fed. Cir. 2009).
26
    See, LifeScan Scotland, Ltd., supra note 7, at 8.
27
    See, Glass Equip. Dev., Inc. v. Besten, Inc., 174 F.3d 1337 (Fed. Cir. 1999);
Bandag Inc. v. Al Bolser’s Tire Stores, Inc., 750 F.2d 903 (Fed. Cir. 1984).
                                          18
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      C.     The District Court Correctly Held the Return Program Does Not
             Affect the Authority to Sell.
      Both district courts to review Lexmark’s infringement claims held Lexmark
authorized the cartridge sales to its resellers and customers. Opinion A0014; Static

Control, 615 F. Supp. 2d at 585. Lexmark did not appeal that finding as clearly
erroneous. Thus, the district court correctly concluded, the Return terms are
downstream post-sale use restrictions that are exhausted upon authorized sale, and

cannot be enforced under patent law.
      First, Lexmark’s authorized sales occur before purchasers accept any use
restrictions. 28 Purchasers pay for and own full title to the cartridge. 29 By its terms,

the Return Program “agreement” comes into existence only after the sale, when a
consumer opens the box or installs the cartridge: “Opening this package or using
the patented cartridge inside confirms your acceptance of the following license


28
      Sales of Lexmark Prebate cartridges were unconditional. Anyone
      could walk into a store carrying Lexmark Prebate cartridges and
      purchase one. Anyone could purchase Lexmark Prebate cartridges
      directly from Lexmark through its website. No potential buyer was
      required to agree to abide by the Prebate terms before purchasing a
      cartridge.

Static Control, 615 F. Supp. 2d at 585 (emphasis added).
29
   Ohio Rev. Code § 1302-42 (2012). Although the terms purport to restrict the
end-user’s ability to recycle through third parties such as remanufacturers or
charities, end-users obtain full title and to the cartridge from Lexmark or resellers.
“Under the Prebate program, customers have three options for their empty
cartridges: keep them, throw them in the trash, or return them to Lexmark.” Static
Control Components, Inc. v. Lexmark Int’l, Inc., 487 F. Supp. 2d 861, 871 (E.D.
Ky. 2007).

                                            19
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agreement.” Lexmark Br. 8. Thus, Lexmark’s post-sale condition has no effect
until after the authorized sale to end-users.

       Second, Lexmark’s terms address only post-sale use not the authority to sell.
They purport to limit only what the end-user can do with a used cartridge;
specifically, that a consumer wishing to recycle a used cartridge should return it to
Lexmark. 30
       Thus, the district court correctly concluded Lexmark’s terms did not affect
the authority to sell; and the Return Program post-sale use restriction, like the
notices in Bizcom or Mallinckrodt, is unenforceable under patent law.

III.   PROPER INTERPRETATION OF THE EXHAUSTION DOCTRINE
       MAINTAINS SUPREME COURT PRECEDENTS DISTINGUISHING
       REPAIR FROM RECONSTRUCTION.
       The aftermarket competitors represented by the amici engage in lawful
repair, and provide consumers with high quality products and services at
competitive prices. Inherent in the district court’s finding of non-infringement in
this case is that the defendants engage in permissible repair. Static Control




30
    Lexmark Br. 8 (“RETURN EMPTY CARTRIDGE TO LEXMARK FOR
RECYCLING. … Following this initial use, you agree to return the empty
cartridge only to Lexmark for recycling”). Lexmark amended the terms to address
only recycling and not “remanufacturing.” Compare Static Control Components,
Inc. v. Lexmark Int’l, Inc., 697 F.3d 387, 396 (2012); Static Control, 615 F. Supp.
2d at 577 n.3. Under the current Return terms, remanufacturing would not be
infringement even under Lexmark’s theory.
                                          20
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explicitly held remanufacture of used Lexmark cartridges constituted lawful repair,
not infringing reconstruction—a holding Lexmark did not appeal. 31

      The doctrine of noninfringing repair is nearly as old as the American
industrial revolution. “Since [1850], it has been the established law that a patentee
has not ‘a more equitable right to force the disuse of the machine entirely, on

account of the inoperativeness of a part of it, than the purchaser has to repair, who
has, in the whole of it, a right of use.’” 32 Permissible repair has been found in a
wide range of commercial products and services.33 This distinction protects the




31
   Id., 615 F. Supp. 2d at 588. See also, Hewlett-Packard Co. v. Repeat-O-Type
Stencil Mfg. Corp., 123 F.3d 1445 (Fed. Cir. 1997), cert. denied, 523 U.S. 1022
(1998) (modifying ink jet cartridges for resale constitutes repair).
32
   Heyer v. Duplicator Mfg. Co., 263 U.S. 100, 101 (1923) (machine owner could
buy replacement bands other than from patent owner), citing Wilson v. Simpson, 50
U.S. (9 How.) 109, 123 (1850) (owner of a patented planing machine could replace
worn-out cutting blades).
33
   Automobiles: Aro Mf’g Co. v. Convertible Top Replacement Co. 365 U.S. 336
(1961) (replacement convertible tops) and Dana Corp. v. Am. Precision Co., 827
F.2d 755 (Fed. Cir. 1987) (rebuilt automobile clutches).
   Surfboards: Surfco Hawaii v. Fin Control Sys. Pty. Ltd., 264 F.3d 1062 (Fed.
Cir. 2001), cert. denied sub nom. Fin Control Sys. Pty. Ltd. v. Surfco Hawaii, 536
U.S. 939 (June 24, 2002) (replacement fins).
   Medical Devices: Kendall Co. v. Progressive Med. Tech., 85 F.3d 1570, 1576
(Fed. Cir. 1996) (replacing unspent parts).
   Injection Molding Machinery: Husky Injection Molding Sys. v. R&D Tool &
Eng’g, 291 F.3d 780 (Fed. Cir. 2002).
   Kitchen: Bottom Line Mgmt., Inc. v. Pan Man, Inc., 228 F.3d 1352, 1355 (Fed.
Cir. 2000) (resurfacing cooking plates).
   Disposable Cameras: Jazz Photo, 264 F.3d at 1098-99 (approving eight-step
repair process).
                                          21
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patent owner against only those who re-make the invention anew, 34 while
promoting the paramount public interest in commerce pertaining to patented goods.

      A.     Lexmark’s Narrow View of the Patent Exhaustion Doctrine
             Thwarts the Public’s Right to Repair.
      Thousands of businesses that customize and repair products and supply
replacement parts, including those represented by amici, provide vital services to
the domestic economy. Automotive parts businesses repair hundreds of reusable
parts (e.g., transmissions, alternators, brakes, clutches, and controlled velocity

joints), and repair shops customize and upgrade car engines using aftermarket
parts. Suppliers in the imaging industry repair toner and ink-jet cartridges for
business and home office use with specialized mechanical parts and microchips
that regulate and upgrade printing operations. Consumers upgrade computers by
adding storage, memory, and graphics processing and gaming boards.
      Consumers benefit from aftermarket competition through lower prices,
higher quality, and competitive features. Acquisition guidelines of federal
agencies, state and municipal governments, and corporations express preferences
for purchase of refurbished and recycled products.35 In all likelihood, printers used

34
    See Wilbur-Ellis Co. v. Kuther, 377 U.S. 422, 424 (1964) (“‘reconstruction’ in
this context has the special connotation of those acts which would impinge on the
patentee's right ‘to exclude others from making,’ 35 U.S.C. 154, the article.”). Cf.
Bowman v. Monsanto Co., 133 S. Ct. 1761 (2013) (replication not subject to
exhaustion).
35
    See 40 C.F.R. § 247.16 (2014); U.S. Environmental Protection Agency,
Comprehensive Procurement Guidelines – Toner Cartridges,
http://www.epa.gov/epawaste/conserve/tools/cpg/products/nonpaperoffice.htm#ton
er (last visited June 8, 2015).
                                          22
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by this Court run on remanufactured toner cartridges such as those produced by
members of the amici.

      But these businesses need clearly-defined rules to avoid the “disastrous or
even lethal consequences” of patent infringement suits:

      [B]usinessmen are certainly entitled to know when they are
      committing an infringement.… But to what avail these congressional
      precautions if this Court, by its opinions, would subject small
      businessmen to the devastating uncertainties of nebulous and
      permissive standards of infringement under which courts could
      impose treble damages upon them…. 36
The patent exhaustion doctrine provides that necessary guidance, and protects the
right to repair against anticompetitive restraints. By contrast, the “conditional
sales” theory trammels the rights of a patentee’s competitors and the public to
repair patented articles and replace unpatented components. Preserving the right to
repair provides another reason to give Quanta its full effect, by overruling
Mallinckrodt.

      B.     “Conditional Sales” Cases Create Uncertainty in the Courts and
             the Marketplace, a Trend This Court Should Reverse.
      Predictably, 37 the sea change of Mallinckrodt emboldened patent owners like

Lexmark to adopt post-sale tactics designed to stymie aftermarket competition.

36
   Aro, 365 U.S. at 358-359 (Black, J., concurring). Cf. Kirtsaeng, 133 S. Ct. at
1365 (geographical limits on exhaustion could subject retailers to “the disruptive
impact of the threat of infringement suits.).
37
   See Dawson Chem. Co. v. Rohm & Haas Co., 448 U.S. 176, 190 (1980),
describing the rapid adoption of conditional licensing, and the ensuing corrosive
effects on commerce arising from Henry v. A.B. Dick Co., 224 U.S. 1 (1912) – a
result soon reversed by Motion Picture Patents v. Universal Film Mfg. Co., 243
U.S. 502, 515 (1917).
                                          23
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Quanta should have put an end to these intrusions on open commerce. Yet
Lexmark and others persist in arguing that Mallinckrodt justifies patent

infringement liability for otherwise-lawful repair, to the detriment of consumers
and competition.38
      Post-sale use restrictions like Lexmark’s block the wheels of commerce.

Although repair and supplies businesses can read patents to evaluate whether their
activities constitute repair and not reconstruction, they cannot know whether
products and components are subject to post-sale restrictions. As this Court’s
decisions illustrate, no business can predict whether restrictive legends nearly
identical to the notice in Mallinckrodt are valid or enforceable.39 Consequently,
even if consumers and aftermarket competitors actually see purported post-sale
restrictions, they cannot know under a “conditional sales” theory whether or how
those terms affect their right under patent law to repair devices they lawfully own.
Until the law is fully settled, those who supply and repair products with

replaceable parts will unjustly be subjected to threats of infringement litigation,
and consumers will bear the costs of this market confusion sown by the patent
owner.



38
   See also, Keurig, 732 F.3d at 1374 (describing attempted restriction on use of
competing coffee cartridges as an “end-run around exhaustion”).
39
   See, e.g., Kendall Co., 85 F.3d at 1575 (finding permissible repair by replacing
with aftermarket parts a pressure sleeve sold in packaging marked “FOR SINGLE
PATIENT USE ONLY”); Sage Prods. Inc. v. Devon Indus. Inc., 45 F.3d 1575,
1578 (Fed. Cir. 1995) (finding repair by aftermarket replacement of used, but not
spent, containers marked “single use only”).
                                         24
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        Aftermarket competitors need a bright-line test for exhaustion to stimulate
investment and promote lawful commerce. Suppliers and servicers—including

many small, family-owned enterprises—can readily evaluate their business plans
under familiar principles of contract law. If they cannot reasonably assess their
risks under patent law, then the threat of infringement litigation, increased
damages, attorney fee awards, and injunctions will stifle investment and chill
competition. Quanta’s clear test enables repair and customization businesses to
compete with confidence. Reversal of Mallinckrodt’s “conditional sales” theory

will provide needed certainty to aftermarket repair industries, promote consumer
benefit and competition, and reduce the risk of unwarranted patent infringement
litigation–without depriving patent owners of benefits earned from an authorized
sale.
        Accordingly, attempts to impose patent-based post-sale use restrictions
should be considered null and void.40 As the Supreme Court observed in Keeler:

“The inconvenience and annoyance to the public that an opposite conclusion would
occasion are too obvious to require illustration.” 157 U.S. at 667.




40
   In certain cases, such attempts may constitute patent misuse. Cf. Omega, S.A. v.
Costco Wholesale Corp., CV 04-05443 TJH, 2011 WL 8492716 (E.D. Cal. Nov. 9,
2011) (Order and J.), aff’d 776 F.3d. 692 (9th Cir. 2015) (granting summary
judgment, on remand of case involving copyright first sale doctrine, that plaintiff
committed copyright misuse by engraving a copyrighted image on the reverse of a
watch solely to enforce against unauthorized importation).
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IV.   THE EXHAUSTION DOCTRINE MAINTAINS CRUCIAL
      ANTITRUST LAW PROTECTIONS AGAINST ANTICOMPETITIVE
      CONDUCT.
      Affirming exhaustion also preserves the equilibrium between patent and
antitrust law. A patent “by its very nature is anticompetitive”; 41 in effect, a limited

monopoly to exclude others from manufacture, use, and sale of an invention. 42 As
an exception to policies favoring free competition, the right to exclude should be
construed to the limits of patent law, but no further. “Since patents are privileges
restrictive of a free economy, the rights which Congress has attached to them must
be strictly construed so as not to derogate from the general law beyond the
necessary requirements of the patent statute.” 43

      This Court’s “conditional sales” cases impermissibly remove the antitrust
law safeguards that protect consumers and the markets. Allowing post-sale
conditions to override patent exhaustion, after full title to the articles passes to the
purchaser, condones anticompetitive exclusion of otherwise-lawful competition
and eliminates antitrust remedies against a patentee’s otherwise-unlawful conduct.
Quanta’s rule restores that balance: a patent owner remains free to remedy



41
   In re Ciprofloxin Hydrochloride Antitrust Litig., 544 F.3d. 1323, 1333 (Fed.
Cir. 2008). Accord, Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324
U.S. 806, 816 (1945) (“a patent is an exception to the general rule against
monopolies and to the right to access to a free and open market”).
42
   Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28, 44 (2006), quoting Int’l Salt
Co. v. United States, 332 U.S. 392, 395 (1947).
43
   United States v. Masonite Corp., 316 U.S. 265, 280 (1942) (citing Univis Lens,
decided the same day); see also, Simpson v. Union Oil Co. of Cal., 377 U.S. 13, 24
(1964); Square D Co. v. Niagara Frontier Tariff Bureau, 476 U.S. 409, 421 (1986)
(exemptions from antitrust laws are “strongly disfavored”).
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breaches of a valid agreement, but cannot raise patent law to bar relief against
anticompetitive conduct.44

      Post-sale use restrictions may advance pecuniary interests of the patent
owner, but profit maximization is not the ultimate aim of the patent laws.45 The
“conditional sales” theory diminishes the protective shield of antitrust, with no

countervailing procompetitive or public interest benefit. It should be reversed by
this Court.

V.    A CLEAR PATENT EXHAUSTION RULE REMAINS ESSENTIAL
      TO ROBUST COMMERCE.
      Reaffirming Quanta’s clear rule is vital to the free flow of commerce in a
society where patented articles are ubiquitous. Ecommerce affords unprecedented
opportunities to resell and repair used goods. Consumers buy and sell used
products online, from small computer parts to fleets of cars and trucks, through
websites such as ebay.com and Craig’s List. These ecommerce sites enable
businesses and consumers to comparison shop based on prices and terms, and
better ascertain the ongoing costs of operating a product throughout its useful life.

Accurate information in the hands of the purchaser fosters robust competition in


44
   Cf., Image Technical Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1216
(9th Cir. 1997) (finding Kodak’s policy to deny competitors spare parts was
anticompetitive, where patent-based justifications for its conduct were pretextual).
See Eastman Kodak, 504 U.S. at 461; ISO Antitrust Litig., 203 F.3d 1322, 1327
(Fed. Cir. 2000).
45
   See, e.g., Motion Picture Patents Co., 243 U.S. at 510-511. Cf. Kirtsaeng, 133
S. Ct. at 1370-1371 (“no basic principle of copyright law” entitles copyright
owners to discriminatorily price in different geographic markets).

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both primary markets and aftermarkets. By contrast, post-sale restrictions that
divest consumers of their right to repair or resell ripple uncertainty throughout the

downstream economy. They artificially raise prices, and deprive consumers of
point-of-purchase information as to the true costs of repairing and upgrading their
equipment, thus allowing would-be monopolists to exploit information imbalances
to unfair advantage.46
      As a matter of public policy, lawful aftermarket commerce thrives where the
patent exhaustion doctrine leaves room for robust competition, and where
consumers and competitors can know in advance whether their conduct is lawful.
Any other result discourages investment in noninfringing complementary products
and services, and denies consumers the benefits of fair and open competition:

lower prices and more innovation.
                                   CONCLUSION
      Supreme Court exhaustion doctrine draws a clear demarcation between
patent rights and commercial freedom. Kirtsaeng confirms that the common-law
roots of patent exhaustion have no geographic restrictions; and Quanta clarifies
that exhaustion trumps post-sale use restrictions on a patented article after

authorized sale. Businesses and consumers will benefit from reaffirmation of these
complementary bright-line rules.



46
    See Eastman Kodak, 504 U.S. at 473-476 (describing how inability to ascertain
total cost of ownership at time of purchase exposes end users to supracompetitive
pricing).

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      Therefore, this Court should, as to Question 1, overrule Jazz Photo to the
extent it ruled that a sale of a patented item outside the United States never gives

rise to United States patent exhaustion; and, as to Question 2, hold that authorized
sales exhaust any patent rights to enforce post-sale restrictions, both as to
Lexmark’s resellers and end-users, and overrule the contrary holding in
Mallinckrodt.


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           CERTIFICATE OF COMPLIANCE WITH RULE 32(a)

      This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because this brief contains 6999 words, excluding the parts of the brief

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      This brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

brief has been prepared in a proportionally spaced typeface using Microsoft Word

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                          CERTIFICATE OF SERVICE

      I certify that on June 25, 2015 the foregoing Corrected document was served

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